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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                    BRUNSWICK DIVISION



UNITED STATES OF AMERICA,

       V.                                                 CASE NO.:218-CR-41


AUSTIN ALLEN CROSS,




                                          AFFIDAVIT


        NOW COMES, the above-stated defendant, and gives this affidavit stating that the
address set forth in the within attached appearance bond (or personal recognizance) will
constitute a valid mailing address for service and notice of all court proceedings, appearing dates,
and all pleadings.

        The affiant also agrees that he/she will immediately notify the Clerk's office for the
Southern District of Georgia of any change in the above address, and further agrees that notice
sent to this address will constitute valid service of notice of proceedings in the event that he/she
moves without notifying the Clerk's office by an acceptable writing of a new address.

       This      day of October, 2018.




                                                               Defendant




Sworn to and subscribed before me
This        day of October, 2018.




HONORABLE BENJAMIN W.CHEESBRO
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF GEORGIA
